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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 13-Civ-24354-COOKE/TORRES

   TAIWAN SMART,

          Plaintiff,

   vs.

   THE CITY OF MIAMI,

         Defendant.
   ______________________/

          ORDER SETTING CIVIL TRIAL DATE AND PRETRIAL DEADLINES
          Pursuant to Local Rule 16.1, it is hereby ORDERED as follows:
          1. Trial Date and Calendar Call. This case is set for trial on the Court’s two-week
   trial period commencing Monday, March 4, 2019, at 9:30 a.m., before the undersigned
   United States District Judge at the Federal Courthouse, Courtroom 11-2, 400 North Miami
   Avenue, Miami, Florida. Calendar Call shall be held on Wednesday, February 27, 2019, at
   3:00 p.m., at the same location.
          2. Pretrial Conference. No Pretrial Conference shall be held in this action, unless
   the Court determines that a pretrial conference is necessary. Should a pretrial conference be
   set, the compliance deadlines as set forth in the remainder of this Order shall remain
   unaltered.
          3. Pretrial Deadlines. The pretrial deadlines are as follows:
           January 18, 2019: (a) A Joint Pretrial Stipulation must be filed. The stipulation
   shall conform to Local Rule 16.1(c) and include a joint, neutral summary of the claims and
   defenses in the case, not to exceed one short paragraph per litigant claim, to be read as an
   introduction for voir dire examination. The pretrial stipulation shall also include Plaintiff ’s
   non-binding breakdown of damages with corresponding amounts and other relief sought.
   The parties shall meet at least one month prior to the deadline for filing the pretrial
   stipulation to confer on preparation of that stipulation. The Court will not accept unilateral
   pretrial stipulations, and will strike sua sponte any such submissions. A copy of the joint
   pretrial stipulation shall be delivered to chambers in Microsoft Word format at the time of
   filing via email to cooke@flsd.uscourts.gov;
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                                  (b) A Joint Summary of the Parties’ Motion(s) in Limine must
   be separately filed. The joint summary shall contain a cover page providing the style of the
   case and an index of the motion(s) in limine. For each evidentiary issue, the joint summary
   must include: a one page argument identifying the evidence sought to be excluded or
   included at trial and citing legal authority supporting exclusion or inclusion; and a one page
   response to the argument citing legal authority in support of admission or exclusion of the
   disputed evidence. The parties shall work together to prepare the joint summary, and are
   encouraged to resolve evidentiary issues through stipulation. Motions in limine will not be
   accepted in any other form.

           February 22, 2019: (a) Final proposed jury instructions and verdict form must filed.
   The parties shall submit a SINGLE, JOINT set of proposed jury instructions and verdict
   form, though the parties need not agree on the proposed language of each or any instruction
   or question on the verdict form. Where the parties do agree on a proposed instruction or
   question, that instruction or question shall be set forth in Times New Roman 14 point
   typeface. Instructions and questions proposed only by the plaintiff(s) to which the
   defendant(s) object shall be italicized. Instructions and questions proposed only the
   defendant(s) to which the plaintiff(s) object shall be bold-faced. Each jury instruction shall
   be typed on a separate sheet and must be supported by citations of authority. Each disputed
   jury instruction shall also state the basis for the objection(s) at the bottom of the sheet,
   before the citations of authority. In preparing their requested jury instructions, the parties
   shall utilize as a guide the Pattern Jury Instructions for Civil Cases approved by the United
   States Eleventh Circuit, including the Directions to Counsel contained therein. A copy of
   the proposed jury instructions and verdict form shall be delivered to chambers in Microsoft
   Word format at the time of filing via email to cooke@flsd.uscourts.gov;

                                (b) A trial witness list indicating each witness who will testify at
   trial, a one-sentence synopsis of the testimony, and in consultation with opposing counsel,
   indicate the amount of time needed for direct and cross examination;

                              (c) A list of witnesses with some identifying information
   (address or place of employment) to provide to jury; and

                                (d) Proposed Voir Dire questions specific to the case (general voir
   dire questions should not be included).

                                (e) Any proposed deposition designations, cross-designations,
   and objections therein. Parties must submit their designations in one table, with columns
   listing the witnesses’ names, the deposition dates, the proposed designations by page and
   line, and any objections using the codes listed in Local Rule 16.1(e)(9).

          4. Trial Instructions. All exhibits must be pre-marked. The Plaintiff ’s exhibits shall
   be marked numerically preceded by the letter “P.” Defendant’s exhibits shall be marked
   numerically preceded by the letter “D.” For example, Plaintiff ’s exhibit shall be marked P-1,



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   P-2, P-3 etc. Likewise, Defendant’s exhibit shall be marked D-1, D-2, D-3 etc. A typewritten
   exhibit list setting forth the number and letter, and description of each exhibit must be
   submitted at the time of trial. The parties shall submit said exhibit list on Form AO 187,
   which is available from the Clerk’s office.
            5. Motion for Continuance. A Motion for Continuance shall not stay the
   requirement for the filing of a Pretrial Stipulation and, unless an emergency situation arises,
   a motion for continuance will not be considered unless it is filed at least fourteen (14) days
   prior to the date on which the trial calendar is scheduled to commence. A continuance of
   the trial date will be granted only on a showing of compelling circumstances.
            6. Non-Compliance. Non-compliance with any provision of this Order may subject
   the offending party to sanctions, including denial of the motion, dismissal of claims or
   striking of defenses. It is the duty of all counsel to enforce the timetable set forth herein in
   order to insure an expeditious resolution of this cause.
            7. Settlement. If this case is settled, counsel are directed to inform the Court
   promptly by calling Chambers and submitting an appropriate order for dismissal within ten
   (10) days of notification of settlement to the Court, pursuant to Fed. R. Civ. P. 41(a)(1). The
   case will remain on the trial calendar until an order dismissing the action is entered by the
   Court.
            DONE and ORDERED in Chambers, in Miami, Florida, this 18th day of October
   2018.




   Copies furnished to:
   Edwin G. Torres, U.S. Magistrate Judge
   Counsel of record




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